         Case 2:20-cv-02995-MAK Document 42 Filed 01/11/21 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THOMAS KENNEY                                 : CIVIL ACTION
                                               :
                      v.                       : NO. 20-2995
                                               :
 WATTS REGULATOR CO.                           :

                                            ORDER
       AND NOW, this 11th day of January 2021, upon considering Defendant’s Motion to

exclude testimony of Plaintiff’s expert witnesses (ECF Doc. No. 33), Plaintiff’s Opposition (ECF

Doc. No. 37), Defendant’s omnibus Reply (ECF Doc. No. 40), and for reasons in the

accompanying Memorandum, it is ORDERED Defendant’s Motion to exclude (ECF Doc. No.

33) is GRANTED in part as we preclude the expert witnesses from presenting testimony

concerning the sufficiency of a warning as such testimony does not fit the remaining claims in this

case following summary judgment but otherwise deny the Motion subject to vigorous cross-

examination of expert opinions at trial.




                                                     KEARNEY, J.
